PRos. 12 _
‘R°"-"“““’Case 2:01-cr-20019-JDB Documem 167 Fllled 03/01/05 Page 1 of 5 PagelD 193

UNITED STATES DISTRICT COURT
for

WESTERN DISTRICT OF TENNESSEE

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U. S. A. vs. CHRISTOPHER BYRNE I)ocket No. 2:01CR20019-02

 

Petition on Probation and Supervised Release

 

COMES NOW Willie S. Williarns Jr. PROBATION OFFICER ()F THE COURT presenting
an official report upon the conduct and attitude ofChristopher B§@e , Who was placed on supervision by the
Honorable Julia Srnith Gibbons sitting in the Court at Mem_r_)his, Tennessee , on the llth day of October,

ZOQ, Who fixed the period of supervision at three 13 1 years* , and imposed the general terms and conditions

theretofore adopted by the Court and also imposed Special Conditions and terms as follows:

l. The defendant shall participate as directed in a program (outpatient and/or inpatient) approved by the
Probation Office for treatment of narcotic addiction or drug or alcohol dependency which may include testing
for the detection of substance use or abuse. Further, the defendant shall be required to contribute to the costs
of services for such treatment not to exceed an amount determined reasonable by the Probation Offlcer.

2. The defendant shall make restitution in the amount of $20().00.

=I=

Effective Date of Supervision: January 18, 2005.
RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

(sEE ATTACHED)

PRAYING THAT THE COURT WILL ORDER that a SUMMON

S be issued for Christopher Byrne to
appear before the United States Distn`ct Court to answer charges of S

upervised Release violations

ORDER OF COURT I declare under the penalty of perjury

that the foregoing is true and correct.
dered and ordered thls _g_l_ day

  
   

 

 

 

 

/ Executed ___
, 2095 , and ordered filed on w /$,1,77¢9€>5
a part of records in the above j_ / _ l
c _4/&@£ (F;Z`S-\\
\ Senior United States Probation OEicer
U ` ed States District Judge
Place: Memphis. TN
This document entered on the docket sheet in compliance 4
with Flule 55 and/or 32(b} FHCFP en v "

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RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

THE DEFENDANT VIOLATED THE FOLLOWING CONDI'I`IONS OF SUPERVISED RELEASE:

The defendant shall not commit another Federal, state, or local crime.

On February 18, 2005, Mr. Byrne was arrested by the Southaven, Mississippi Police Department on a warrant
charging Felony Shoplifting. According to a court aflidavit, on or about February 17, 2005, Mr. Byrne and
Kevin Lee Smith entered a Walmart Store where they took various digital cameras, camcorders, and camera
accessories having a total value of $4,993.75. ()n March 30, 2005, Mr. Byrne waived his rights to a
Preliminary Hearing and was Bound Over to the Desoto County, Mississippi Grand Jury. He is released on
a $75,000.00 bond.

On March 2, 2005, Mr. Byrne and Kevin Lee Smith were arrested by Offlcers of the Bartlett, Tennessee Police
Departrnent on charges of Vandalism Under $500.00 and Theft Over $500.00. According to investigative
reports, between January 31, 2005 and February l, 2005, a plasma television valued at $2,994.00, along with
a number of miscellaneous electronics were taken from a Walmart Store in Bartlett, Tennessee. The thefts Were
recorded on the store’s video. On May 2, 2005, Mr. Byrne was Held to State on the above charges. He was
released on a $5,000.00 bond.

On March 30, 2005, Mr. Byrne was arrested by the Southaven, Mississippi Police Department on a warrant
charging Felony Shopliiting. According to investigative reports, on or about February 9, 2005, Mr. Byrne
along With Kevin Lee Smith unlawfully took various merchandise to include assorted electronics, domestic,
iilrniture, and hardware items valued at over $5,000.00, nom a Southaven, Mississippi Walmart Store. On
June 2, 2005, Mr. Byrne Was indicted on the charge of Felony Shoplifting by the Desoto County, Mississippi
Grand Jury. He is released ROR.

The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer.

Mr. Byrne was arrested on February 18, 2005 and March 30, 2005 in Southaven, Mississippi on charges of
Felony Shoplilting. He was again arrested on March 2, 2005 in Bartlett, Tennessee on charges ofVandalism
Under $500.00 and Theft Over $500.00. Kevin Lee Smith, a co-defendant in each of the above cases, is also
a convicted felon.

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Defendant Christopher Byrne (Address: 6317 Roc|<|ecige Cove, Bart|ett, TN 38135)

 

Docket Number (¥ear-Sequence-Defendant No.) 2:01CR20019-02
Districthffice Western District of Tennessee (Niemphis)

OriginalSentence Date 10 ILF 2002
month day year

(if different than above):

 

 

 

 

 

 

 

 

 

 

 

 

5. Original DistrictiOffice
6. Original Docket Number (Year-Sequence-Defendant No.)
7. List each violation and determine the applicable grade {g§ §781.1}:
Violationlsl Grade
* New Criminal Conduct of Felony Shop|ifting B
o New Criminal Conduct of Vanda|ism Under 500.00 C
0 New Criminal Conduct of Theft Over 500_00 B
o New Criminal Conduct of Fe|ony Shop|ifting B
¢ Asscciation with a convicted felon C
0
8. Most Serious Grade of Violation (B §7B1.1(b)) B
9. Criminal History Category (B §7Bt.4(a))74 V|
10. Range of imprisonment (E §7B1.4(a)i 21 - 24 months
Restricted Guideline
18 USC §3583{e) authorizes a maximum sentence of 24 months
‘ii. Sentencing Options for Grade B and C Violations On|y (Check the appropriate box):
{ } (a)lf the minimum term of imprisonment determined under §731.4 (Term of lmprisonment) is at least one month but not more
than six months, §7B1.3(c)(1) provides sentencing options to imprisonmentl
{ } (b)if the minimum term of imprisonment determined under §7131.4 (Term of lmprisonment) is more than six months but not

more than ten months, §7B1.3{c)(2) provides sentencing options to imprisonment

{X} (c)lf the minimum term of imprisonment determined under §751.4 (Term of |mprisonment) is more than ten months, no
sentencing options to imprisonment are available

Mail documents to: United States Sentencing Commission, 1331 Pennsylvania Avenue, N.W.
Suite 1400, Washington, D.C., 20004, Attention: Monitoring Unit

12.

13.

14.

15.

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Defendant Christopher Byrne

 

Unsatistied Conditions of Original Sentence

List any restitution, fine, community confinement home detention, or intermittent confinement previously imposed in connection with
the sentence for which revocation is ordered that remains unpaid or unserved at the time of revocation {see §7B‘l .3(d}}:

 

 

 

 

Restitution ($) $200.00 Community Confinement N/A
Fine ($) NIA i-iome Detention Ni'A
Other NIA intermittent Coniinement N/A

 

 

Supervised Release

lf probation is to be revoked, determine the |ength, if anyl of the term of supervised release according to the provisions of §§501.1-

1-3{§Y §§791-3(9)(1)}-

Term: NIA to NIA years
if supervised release is revoked and the term of imprisonment imposed is less than the maximum term of imprisonment imposab|e upon
revocation, the defendant may, to the extent permitted by iaw, be ordered to recommence supervised release upon release from
imprisonment {§e§ 18 U.S.C. §3583(e) and §7B‘l .3(g)(2)}.
Period of supervised release to be served following release from imprisonment

Departure

l_ist aggravating and mitigating factors that may warrant a sentence outside the applicable range of imprisonment

 

 

 

 

 

 

 

 

 

 

 

Otficia| Detention Adjustment {§g§ §731.3(€)}: months days

Mai| documents to: United States Sentencing Commission, 1331 Pennsy|vania Avenue, N.W.
Suite1400,llliashir\gton, D.C., 20004, Attentien: Monitoring Unit

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 167 in
case 2:0]-CR-200]9 was distributed by faX, mail, or direct printing on
August l, 2005 to the parties listed.

 

 

Stephen C. Parker

U.S. ATTORNEY'S OFFICE
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Ste. 800

l\/lemphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

